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15
                          IN THE UNITED STATES DISTRICT COURT
16

17            FOR THE DISTRICT OF MONTANA BILLINGS DIVISION

18    BRANDY MORRIS and BRENDA
19
      GRAY, on behalf of themselves and all CASE NO.: 21-CV-00076-DWM-
      others similarly situated,            TJC
20

21
            Plaintiffs,

22                 vs.                            DECLARATION OF JOSH
                                                  BOTNEN IN SUPPORT OF
23    FIRST INTERSTATE BANK,                      FIRST INTERSTATE BANK’S
24                                                OPPOSITION TO MOTION
            Defendant.                            TO REMAND
25

26

27

28          I, Josh Botnen, declare and state as follows:

                                 DECLARATION OF JOSH BOTNEN
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 1          1.     I am currently employed as the Senior Vice President, Chief Data and
 2    Analytics Officer of First Interstate Bank. My duties and responsibilities include
 3    maintaining and supervising those who maintain electronic data relating to First
 4    Interstate customers. The data includes, among other things, addresses and other
 5    information required for purposes of communicating with customers regarding their
 6    accounts. This data is relied on by First Interstate to communicate with customers
 7    for, among other things, providing them information about their accounts. The
 8    customer data maintained by First Interstate includes mailing addresses for each
 9    customer. Mailing addresses are used to send periodic account statements and other
10    notices to customers who have opted to receive their account statements by mail.
11          2.     On June 22, 2021, I had one of the persons working under my
12    supervision pull the current address information for all First Interstate accounts. I
13    created a chart summarizing the states associated with the addresses in First
14    Interstate’s records for each of the accounts. A true copy of the chart is attached as
15    Exhibit A. As of June 22, 2021, 38.54% of all accounts listed Montana as the
16    address where statements should be sent if they are sent by mail. The remaining
17    accounts listed an address in another state or country, or did not list an address.
18          3.     The addresses that I used to prepare the chart are addresses for current
19    customer accounts in First Interstate’s system.       Certain addresses may not be
20    accurate if a customer moved and has not sent First Interstate a notice of change of
21    address. In addition, the analysis does not include closed accounts. If a customer
22    closes his or her account, then First Interstate does not keep track of
23    address changes.
24          I declare under penalty of perjury that the foregoing is true and correct.
25    Executed August 18, 2021 at Billings, Montana.
26

27                                                   /s/ Josh Botnen___
28                                                   Josh Botnen
                                                 2
                                   DECLARATION OF JOSH BOTNEN
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                  EXHIBIT A
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STATE    TOT_ACT     PCT_TOT
MT           101,363     38.54%
WY            46,483     17.67%
OR            41,718     15.86%
ID            28,970     11.01%
SD            20,314      7.72%
WA            13,234      5.03%
CA             1,424      0.54%
               1,374      0.52%
AZ             1,099      0.42%
CO             1,055      0.40%
TX               766      0.29%
FL               494      0.19%
ND               404      0.15%
NV               376      0.14%
UT               333      0.13%
NE               284      0.11%
MN               279      0.11%
NM               166      0.06%
AK               164      0.06%
NC               143      0.05%
NY               143      0.05%
TN               132      0.05%
IL               131      0.05%
VA               128      0.05%
IA               123      0.05%
GA               122      0.05%
MI               122      0.05%
HI               121      0.05%
PA               116      0.04%
WI               114      0.04%
MO               108      0.04%
KS               107      0.04%
OK               107      0.04%
OH               105      0.04%
IN                80      0.03%
AL                75      0.03%
MA                70      0.03%
LA                66      0.03%
CT                62      0.02%
SC                62      0.02%
MD                60      0.02%
NJ                60      0.02%
AR                54      0.02%
NH                45      0.02%
KY                44      0.02%
MS                40      0.02%
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ME               33     0.01%
VT               28     0.01%
DC               22     0.01%
AE               14     0.01%
WV               14     0.01%
AP               13     0.00%
RI               11     0.00%
                 10     0.00%
DE                5     0.00%
MP                4     0.00%
PR                3     0.00%
CHE               2     0.00%
KAL               2     0.00%
VI                2     0.00%
AA                1     0.00%
AS                1     0.00%
BEL               1     0.00%
BIL               1     0.00%
BOZ               1     0.00%
CAL               1     0.00%
CAS               1     0.00%
FRU               1     0.00%
HAR               1     0.00%
HEL               1     0.00%
LOL               1     0.00%
NAM               1     0.00%
POS               1     0.00%
SAN               1     0.00%
SIL               1     0.00%
WHI               1     0.00%
TOTAL       263,019
